Case 2:21-bk-18205-DS          Doc 533 Filed 10/23/23 Entered 10/23/23 16:40:49                  Desc
                                Main Document     Page 1 of 1



  1 DAVID B. GOLUBCHIK (State Bar No. 185520)
    JOSEPH M. ROTHBERG (State Bar No. 286363)
  2 ROBERT M. CARRASCO (State Bar No. 334642)        FILED & ENTERED
    LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
  3 2818 La Cienega Avenue
    Los Angeles, California 90034                          OCT 23 2023
  4 Telephone: (310) 229-1234
    Facsimile: (310) 229-1244                         CLERK U.S. BANKRUPTCY COURT
  5 Email: DBG@LNBYG.COM; JMR@LNBYG.COM; RMC@LNBYG.COMCentral District of California
                                                                      BY bakchell DEPUTY CLERK

  6 Attorneys for Crestlloyd, LLC, the debtor and debtor-in-possession
  7

  8                            UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA
  9                                  LOS ANGELES DIVISION

 10 In re,                                               Case No. 2:21-bk-18205-DS

 11 CRESTLLOYD, LLC,                                     Chapter 11
                                        Debtor.
 12                                                      ORDER GRANTING DEBTOR’S
                                                         MOTION TO APPROVE COMPROMISE
 13                                                      WITH JUSTINE ENGLANOFF, NICOLE
                                                         ENGLANOFF, AND JACQUELINE
 14                                                      ENGLANOFF

 15           The Court having reviewed and considered the “Debtor’s Motion to Approve Compromise

 16 with Justine Englanoff, Nicole Englanoff, and Jacqueline Englanoff” (the “Motion,” Docket No.

 17 523) and the record in this case and the related adversary proceeding, and good cause appearing,

 18           IT IS HEREBY ORDERED that the Motion is granted. The “Settlement Agreement and

 19 Mutual Releases” (the “Agreement”), attached as Exhibit 1 to the Motion is approved, and the
 20 parties to the Agreement are authorized to take any and all steps necessary to effectuate the

 21 Agreement under the terms and conditions set forth in the Agreement.
 22                                                 ###

 23
      Date: October 23, 2023
 24

 25
 26
 27

 28
